              Case 2:17-cv-09010-AGR Document 62 Filed 02/07/18 Page 1 of 3 Page ID #:1664
Name and address:
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                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                             CASE NUMBER
TMF Trustee Limited, et al
                                                         Plaintiff(s),                            2:17-cv-09010-PA-AGR

                 v.
                                                                               APPLICATION OF NON-RESIDENT ATTORNEY
M/T Megacore Philomena, et al                                                        TO APPEAR IN A SPECIFIC CASE
                                                       Defendant(s),                        PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1)   The attorney seeking to appear pro hac vice must complete Section I of this Application, personally sign, in ink, the certification in
      Section II, and have the designated Local Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED.
      Space to supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued
      within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the
      Application. Scan the completed Application with its original ink signature, together with any attachment(s), to a single Portable
      Document Format (PDF) file.
(2)   Have the designated Local Counsel file the Application electronically (using the Court's CM/ECF System), attach a Proposed Order
      (using Form G-64 ORDER, available from the Court's website), and pay the required $325 fee online at the time of filing (using a
      credit card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing
      will be grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $325 fee.
      (Certain attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.)
      A copy of the G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
J. Stephen Simms
Applicant's Name (Last Name, First Name & Middle Initial)                                           check here if federal government attorney
Simms Showers LLP
Firm/Agency Name
201 International Circle                                                 410-783-5795                           410-510-1789
                                                                         Telephone Number                       Fax Number
Street Address
Baltimore, Maryland 21030                                                                    jssimms@simmsshowers.com
City, State, Zip Code                                                                                E-mail Address

I have been retained to represent the following parties:
Ocean Energy Ltd.                                                        ✖   Plaintiff(s)    Defendant(s)      Other:
                                                                             Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                  Name of Court                         Date of Admission              Active Member in Good Standing? (if not, please explain)
Maryland Court of Appeals                                  12/20/1985                Yes - Certificate Herewith
U.S. District Court for Dist of Maryland                    8/16/1985                Yes



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401 Wilshire Boulevard, 12th Floor Penthouse



Santa Monica, CA 90401




                 February 7, 2018
